                                             j ORIGINAL                                        08/22/2024
                IN THE SUPREME COURT OF THE STATE OF MONTANA
                                                                                           Case Number: DA 24-0147
                                          DA 24-0147


PLANNED PARENTHOOD OF MONTANA, and
SAMUEL DICKMAN, M.D., on behalf of
themselves and their patients,

            Plaintiffs and Appellees,

      v.                                                            ORDER

STATE OF MONTANA, by and through
AUSTIN KNUDSEN, in his official capacity as
                                                                                      FILED
Attorney General,                                                                     AUG 2 2 2024
                                                                                    Bowen Greenwoop
            Defendant and Appellant.                                              Clerk of Suprerne Court
                                                                                     State of Montana




       Amy Myrick, ofNew York City, New York, has petitioned for permission to appear pro hac
vice before this Court in the above-entitled cause.
       Having reviewed the application and having determined that, as required by our Rules for
Admission to the Bar of Montana, Petitioner is currently in good standing with another state
jurisdiction in which Petitioner is admitted to the practice of law, Montana counsel listed in the
application is in good standing with the State Bar of Montana, and this is the second appearance of
Petitioner and the sixth appearance of Petitioner's firm under the pro hac vice rules, with good
cause showing under Rule VI(C),
       IT IS HEREBY ORDERED that the application of Amy Myrick to appear pro hac vice in
the above-entitled cause is GRANTED.
       The Clerk is directed to provide copies of this order to Amy Myrick, to all counsel ofrecord
in this appeal, and to the State Bar of Montana.
       DATED this 21st day of August 2024.

                                                   For the Court,



                                                   By
                                                                     Justice
